Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 1 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 2 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 3 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 4 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 5 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 6 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 7 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 8 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 9 of 10
Case 5:12-cv-00233-WLS Document 50-1 Filed 07/16/13 Page 10 of 10
